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UNITED STATES DISTRICT COURT ,;I‘:LFC`TRONICALLY FILED
SOUTHERN DISTRICT oF NEW YORK l D@C#:

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UNITED STATES OF AMERICA
SUPERSEDING INFORMATION

 

__ V. _

EDWARD DAVIES, 83 18 Cr. 390 (PAE)

a/k/a “Yum Yum,”

Defendant.

X

COUNT ONE

The United States Attorney charges:

l. From at least in or about 2012, up to and
including in or about June 2018, in the Southern District of New
York and elsewhere, EDWARD DAVIES, a/k/a “Yum Yum,” the
defendant, and others known and unknown, intentionally and
knowingly did combine, conspire, confederate and agree, together
and with each other, to Violate the narcotics laws of the United
States.

2. It was a part and an object of the conspiracy
that EDWARD DAVIES, a/k/a “Yum Yum,” the defendant, and others
known and unknown, would and did distribute and possess with
intent to distribute controlled substances, in Violation of
Title 21, United States Code, Section 841(a)(l).

3. The controlled substances that EDWARD DAVIES,

a/k/a “Yum Yum,” the defendant, conspired to distribute and

possess with intent to distribute were (i) 40 grams and more of

mixtures and substances containing a detectable amount of

fentanyl, in violation of Title 21, United States Code,

Section 84l(b)(l)(B); and (ii) 100 grams and more of mixtures

and substances containing a detectable amount of heroin, in

violation of Title 21, United States Code, Section 84l(b)(1)(B).
(Title 21, United States Code, Section 846.)

FORFEITURE ALLEGATION

 

4. As a result of committing the controlled
substance offense alleged in Count One of this Superseding
Indictment, EDWARD DAVIES, a/k/a “Yum Yum,” the defendant, shall
forfeit to the United States, pursuant to Title 21, United
States Code, Section 853, any and all property constituting, or
derived from, any proceeds obtained, directly or indirectly, as
a result of said offense and any and all property used, or
intended to be used, in any manner or part, to commit, or to
facilitate the commission of, said offense, including but not
limited to a sum of money in United States currency representing
the amount of proceeds traceable to the commission of said
offense.

Substitute Asset Provision

 

5. If any of the above-described forfeitable

property, as a result of any act or omission of the defendant:

 

 

(a) cannot be located upon the exercise of due
diligence;

(b) has been transferred or sold to, or deposited
with, a third person;

(c) has been placed beyond the jurisdiction of
the Court;

(d) has been substantially diminished in value;
or

(e) has been commingled with other property which
cannot be subdivided without difficulty;
it is the intent of the United States, pursuant to Title 21,
United States Code, Section 853(p), to seek forfeiture of any
other property of the defendant up to the value of the above
forfeitable property.

(Title 21, United States Code, Section 853.)

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GEOFFR§’YVS/ BERMAN
United States Attorney

 

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
_ 'v'. _

EDWARD DAVIES,
a/k/a “Yum Yum,”

Defendant.

 

SUPERSEDING INFORMATION

 

53 18 cr. 390 (PAE)

(Title 21, United States Code,
Section 846.)

GEOFFREY S. BERMAN

 

United States Attorney.

 

 

 

